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             Edwards Vacuum LLC

                            IN THE UNITED STATES DISTRICT COURT

                   FOR THE DISTRICT OF OREGON (PORTLAND DIVISION)


      EDWARDS VACUUM LLC, a Delaware            Case No. 3:20-cv-1681
      limited liability company,

                      Plaintiff,

           vs.                                  COMPLAINT FOR MISAPPROPRIATION
                                                OF TRADE SECRETS, BREACH OF
      HOFFMAN INSTRUMENTATION                   CONTRACT, TORTIOUS
      SUPPLY, INC., d/b/a HIS                   INTERFERENCE WITH ECONOMIC
      INNOVATIONS GROUP, an Oregon              RELATIONS, CONVERSION, BREACH
      corporation; MARK ROMEO, an               OF DUTY OF LOYALTY, CIVIL
      individual; JEFFREY SCHWAB, an            CONSPIRACY AND UNJUST
      individual; JOSHUA RATCHFORD, an          ENRICHMENT
      individual; COLLIN MUNDUS, an
      individual; ELISHA LEVETON, an
      individual; RICHARD DATE, an              DEMAND FOR JURY TRIAL
      individual; JONATHAN DIRKSEN, an
      individual; JOHN CHADBOURNE, an
      individual; ANDREW ENSELEIT, an
      individual; TRAVIS HOVDE, an
      individual; CHAD COOK, an individual;
      TOBY DOUGLAS STANLEY, an
      individual; PAUL ANDERSON, an
      individual; and DOES 1-20,

                      Defendants.
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            Plaintiff Edwards Vacuum LLC (“Edwards”), by its undersigned counsel, for its

     complaint against Hoffman Instrumentation Supply, Inc, d/b/a HIS Innovations Group (“HIS”),

     and former Edwards employees recruited by HIS, including Mark Romeo (“Romeo”), Jeffrey

     Schwab (“Schwab”), Joshua Ratchford (“Ratchford”), Collin Mundus (“Mundus”), Elisha

     Leveton (“Leveton”), Richard Date (“Date”), John Chadbourne (“Chadbourne”), Andrew

     Enseleit (“Enseleit”), Travis Hovde (“Hovde”), Jonathan Dirksen (“Dirksen”), Chad Cook

     (“Cook”), Toby Douglas Stanley (“Stanley”), Paul Anderson (“Anderson”), and Does 1-20

     (collectively, “Defendants”), hereby alleges as follows:

                           BACKGROUND AND NATURE OF THE CASE
            1.      This case involves Defendants’ willful misappropriation of Edwards’s sensitive,

     confidential, and proprietary business and technical information—in particular, Edwards’s trade

     secrets and other sensitive information relating to its proprietary integrated systems for vacuum

     pump arrays used in semiconductor chip manufacturing.

            2.      Plaintiff Edwards is an industry leader in vacuum pump technology. Among

     other applications, it designs, manufactures, and sells highly specialized pumps used in the field

     of semiconductor manufacturing. Those pumps are used to evacuate air and other gases from

     vacuum chambers where semiconductor manufacturing processes take place. As discussed

     further below, the requirements for semiconductor manufacturing are stringent, and the pumps

     must tie into multiple complex systems within a manufacturing facility that may employ

     thousands of these specialized pumps to support the vacuum manufacturing processes. The

     pumps, each suited to the unique and exacting requirements of the specific manufacturing

     processes they support, cost up to $40,000 per unit.

            3.      Starting more than two decades ago, Edwards began to develop an integrated

     vacuum pump system to support a key customer with semiconductor manufacturing facilities in

     Hillsboro, Oregon. An integrated system advantageously was able to combine an array of

     vacuum pumps into a single chassis with discrete connections to the various systems, with the

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     vacuum pumps and supporting components “stacked” to optimize economically the equipment’s

     “footprint” in valuable facility space. For example, such a system could provide minimal points

     of connection to and from the semiconductor fabrication tool, as well as numerous other facility

     systems like nitrogen, process chilled water, electricity, and exhaust piping, distributing those

     utilities to all vacuum pumps in a single chassis. The system also had a central computerized

     control system to monitor and control the integrated system and each of the discrete vacuum

     pumps. That computer could then tie into the various monitoring and safety systems within the

     manufacturing facility. An integrated system, combining all vacuum pumps that support a

     particular manufacturing process, could thus dramatically reduce the footprint of the equipment

     and provide numerous efficiencies in installation and operational costs.

            4.      Over the past 30 years, Edwards has invested approximately $100 million dollars

     and over one hundred thousand person-hours designing, developing, and improving upon these

     systems, which are now sold under brand names Synergis and eZenith. Throughout much of that

     development period, the lead architect of Edwards’s systems was its former Director of

     Integrated Systems, Defendant Mark Romeo, who was supported by his “right-hand man,”

     Defendant Jeffrey Schwab. Since 1996, Romeo took the lead role in the high-level design,

     construction, and sale of these systems. And since 1999, Schwab and his team implemented

     those ideas, developing detailed specifications and, along the way, encountering and overcoming

     countless, complex engineering challenges. Over these 24 years, the Edwards team has

     developed substantial proprietary know-how and other information that it has diligently kept

     secret. Edwards also has kept a considerable amount of other information about its integrated

     systems business confidential, including pricing information, vendor information, and

     information concerning its ongoing relationship with key accounts.

            5.      One of Edwards’s suppliers for proprietary parts for its Synergis system was

     Defendant HIS, a local parts supplier that made pipes, valves, and other mechanical components.

     As part of that relationship, Edwards provided HIS with substantial confidential information,

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     including diagrams and details of dozens of specific, custom-specified parts used in Edwards’s

     integrated systems and how those parts were used. All of this information was shared pursuant

     to the strict terms of a non-disclosure agreement, which prohibited HIS from using any of this

     information, including the components of or materials used for particular custom parts, for any

     unauthorized purpose.

            6.      By early 2019, Edwards had opened a new, state of the art manufacturing facility

     in Hillsboro, Oregon, to consolidate its efforts concerning its “Synergis” system, including

     design, manufacturing, sales, marketing, and service. Defendant Romeo was hoping to be

     appointed the general manager of the facility. When he was passed over for this promotion, he

     jumped ship and took a position as President and Chief Innovation Officer at Defendant HIS, a

     company that has never manufactured a vacuum pump and had no experience designing,

     developing, or manufacturing integrated vacuum pump systems.

            7.      Two days later, Defendant Schwab left Edwards, joining Defendant Romeo at

     HIS, and assuming the role of HIS Director of Engineering. Over the ensuing months, Romeo,

     Schwab, and HIS have poached at least a dozen additional Edwards employees all of whom

     possess many valuable Edwards trade secrets and other confidential information concerning the

     Synergis system. Among those who have been poached by HIS are: Defendant Joshua

     Ratchford, Ph.D., Edwards’s Applications Manager who possessed detailed knowledge of

     Edwards’s customer relationships and semiconductor fabrication processes, and who joined HIS

     as its Director of Strategic Accounts; Defendant Collin Mundus, the lead sales specialist for

     Edwards’s sales in the Pacific Northwest (including Hillsboro-based semiconductor

     manufacturers); a purchaser with detailed knowledge of Edwards’s components sourcing and

     prices; a senior technical support engineer working with a key, Hillsboro-based account; and

     several other Edwards engineers and technicians who had been given access to valuable and

     highly sensitive Edwards trade secrets. HIS has also poached Edwards’s buyers for and



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     designers of the custom components that HIS supplied to Edwards pursuant to the terms of an

     NDA.

            8.      Within approximately one year after Romeo left Edwards, HIS has remarkably

     designed, developed, and manufactured an integrated system to compete directly with Edwards’s

     Synergis system. Today one such system is in the process of being qualified at one of Edwards’s

     key accounts. Once that qualification process is complete, HIS may be in a position to deploy

     hundreds or thousands of these systems at that customer’s manufacturing facilities in Hillsboro

     and throughout the world. HIS’s integrated system bears a striking resemblance in material

     respects to Edwards’s Synergis systems, and, on information and belief, HIS has used Edwards’s

     highly confidential trade secret information to design and manufacture its system.

            9.      Indeed, it would have been impossible for HIS to develop its competing system in

     just one year without using Edwards’s trade secrets. It took Edwards three decades to solve the

     many engineering challenges necessary to develop such a system—solutions which it has closely

     guarded as its trade secrets. It would have been impossible for anyone to design, develop, and

     manufacture a competing system in only one year without capitalizing on Edwards’s trade secret

     technology. HIS has also used Edwards’s confidential pricing information and information

     relating to its customer relationships. By using Edwards’s trade secrets as the blueprint for its

     competing system and marketing efforts, HIS has avoided investing the millions of dollars and

     decades of development efforts that otherwise would have been required.

            10.     Edwards seeks through this lawsuit to preliminarily and permanently enjoin

     Defendants from making further use of Edwards’s confidential, proprietary, and trade secret

     information; to disclose the extent of the misappropriation of Edwards’s trade secrets and

     confidential information; to compel Defendants to return all such information to Edwards; and to

     compensate Edwards for the harm it has suffered and continues to suffer as a result of

     Defendants’ willful misconduct.



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            11.     Edwards intends to file a motion for a preliminary injunction, to prevent HIS from

     capitalizing on its wrongdoing and causing Edwards the irreparable harm that will result if HIS’s

     system is qualified by a key Edwards customer. To support that motion, Edwards is filing

     concurrently with this Complaint a motion for expedited discovery seeking specific information

     about the system HIS is currently qualifying at a key Edwards Hillsboro customer for Synergis

     systems, including detailed schematics, and communications between HIS and that Edwards

     customer.

                                              THE PARTIES
            12.     Plaintiff Edwards is a world leader in the development and manufacture of

     sophisticated vacuum products, abatement solutions, and related services used in the

     semiconductor industry for manufacture of semiconductor-based chips. It invests tens of

     millions of dollars per year in research and development of vacuum products like the integrated

     systems at issue in this lawsuit. Edwards is a limited liability company organized and existing

     under the laws of Delaware, with a U.S. principal place of business in Sanborn, New York. The

     systems at issue in this case are designed and manufactured in Edwards’s state-of-the-art

     Hillsboro, Oregon facility, which was designed in large part around the development of

     Edwards’s integrated vacuum pump systems. Edwards is a subsidiary of Atlas Copco AB, a

     publicly traded company organized under the laws of the Kingdom of Sweden.

            13.     On information and belief, Defendant HIS is a corporation organized and existing

     under the laws of Oregon, with a principal place of business in Hillsboro, Oregon.

            14.     On information and belief, Defendant Romeo is a natural person and citizen of

     Oregon, residing in North Plains, Oregon.

            15.     On information and belief, Defendant Schwab is a natural person and citizen of

     Oregon, residing in Beaverton, Oregon.

            16.     On information and belief, Defendant Ratchford is a natural person and a citizen

     of Oregon, residing in Portland, Oregon.

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            17.     On information and belief, Defendant Mundus is a natural person and a citizen of

     Oregon, residing in Portland, Oregon.

            18.     On information and belief, Defendant Leveton is a natural person and a citizen of

     Oregon, residing in Aloha, Oregon.

            19.     On information and belief, Defendant Date is a natural person and a citizen of

     Oregon, residing in Hillsboro, Oregon.

            20.     On information and belief, Defendant Dirksen is a natural person and a citizen of

     Oregon, residing in Gresham, Oregon.

            21.     On information and belief, Defendant Chadbourne is a natural person and a

     citizen of Oregon, residing in Portland, Oregon.

            22.     On information and belief, Defendant Enseleit is a natural person and a citizen of

     Oregon, residing in Portland, Oregon.

            23.     On information and belief, Defendant Hovde is a natural person and a citizen of

     Oregon, residing in Portland, Oregon.

            24.     On information and belief, Defendant Cook is a natural person and a citizen of

     Oregon, residing in Hillsboro, Oregon.

            25.     On information and belief, Defendant Stanley is a natural person and a citizen of

     Oregon, residing in Gales Creek, Oregon.

            26.     On information and belief, Defendant Anderson is a natural person and a citizen

     of Oregon, residing in Hillsboro, Oregon.

            27.     Defendants Does 1-20 are former Edwards employees, the identities of whom are

     currently unknown to Edwards, who have been recruited and employed by HIS, and are

     participating in the wrongful conduct described herein.




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                                      JURISDICTION AND VENUE
            28.     This Court has subject matter jurisdiction over this action pursuant to, inter alia,

     28 U.S.C. §§ 1331 and 1367, because this is a trade secret misappropriation dispute that arises

     under the federal Defend Trade Secrets Act, 18 U.S.C. § 1836 et seq.

            29.     This Court also has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(a)-

     (c), because the amount in controversy in this case exceeds the sum of $75,000, exclusive of

     interest and costs, and there is complete diversity of citizenship between the parties.

            30.     This Court also has pendent subject matter jurisdiction over the state law claims

     because they are ancillary to federal causes of action and arise out of the same transaction or

     occurrences as those federal claims.

            31.     This Court has personal jurisdiction over HIS because HIS resides in this district.

     On information and belief, HIS is an Oregon corporation with its principal place of business at

     5500 NE Moore Court, Hillsboro, Oregon. On information and belief, HIS has also committed

     acts of misappropriation in this district, which are the subject of this Complaint.

            32.     This Court has personal jurisdiction over Romeo because Romeo resides in this

     district. On information and belief, Romeo is an Oregon citizen residing in North Plains,

     Oregon. On information and belief, Romeo has also committed acts of misappropriation in this
     district, which are the subject of this Complaint.

            33.     This Court has personal jurisdiction over Schwab because Schwab resides in this

     district. On information and belief, Schwab is an Oregon citizen residing in Beaverton, Oregon.

     On information and belief, Schwab has also committed acts of misappropriation in this district,

     which are the subject of this Complaint.
            34.     This Court has personal jurisdiction over Ratchford because Ratchford resides in

     this district. On information and belief, Ratchford is an Oregon citizen residing in Portland,

     Oregon. On information and belief, Ratchford has also committed acts of misappropriation in

     this district, which are the subject of this Complaint.


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            35.       This Court has personal jurisdiction over each and every other named Defendant,

     because each such Defendant resides in this district, and/or each named Defendant has

     committed acts of misappropriation in this district, which are the subject of this Complaint.

            36.       Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(1)-(2)

     because all defendants reside in this district, and a substantial part of the events giving rise to

     Edwards’s claims occurred in this district.

                                               BACKGROUND

     I.     Overview of Vacuum Pump Requirements for Semiconductor Manufacturing
            37.       There is no industry with more particular and exacting requirements than the field

     of semiconductor manufacturing. Today’s integrated circuit chips can comprise billions of

     metal-oxide-silicon transistors in an area the size of a human fingernail, which is accomplished

     through the photolithographic printing of transistor arrays onto silicon semiconductor wafers less

     than 1/7 the thickness of a human hair. Because even an atom of material out of place can

     adversely affect the performance of a chip, they are manufactured in ultra-clean room fabrication

     facilities (or “fabs”) with carefully controlled, dust-free environments. The manufacture of these

     chips involves numerous steps, including lithography, etching, vapor deposition, chemical

     mechanical planarization, oxidation, ion implantation, and diffusion. Many of the processes

     essential to semiconductor chip manufacturing must be performed in a vacuum to avoid

     contamination.

            38.       Many semiconductor manufacturing processes result in chemical byproducts that

     must be safely evacuated from the process tool chambers. The air that is evacuated from the

     chambers is then abated to keep hazardous chemicals from being released into the environment.

     The vacuum and air processing equipment used to maintain these environments is highly

     specialized. A single robotic process tool may perform its process steps in as many as a dozen

     different chambers, each having its own, precise vacuum requirements. The requirements for the

     vacuum chambers in semiconductor manufacturing include the Ultra High Vacuum range, which

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   achieves less than one-trillionth (10−12) of atmospheric pressure. In such spaces, there may be as

   few as 100 particles per cubic centimeter. Thus, highly sophisticated vacuum pumps are selected

   for the particularities of each such chamber.

           39.     The individual vacuum pumps used to evacuate air from a single chamber used

   for a single step in the semiconductor manufacturing process can cost as much as $40,000. Each

   pump is carefully calibrated to meet the needs of the chamber and that manufacturing process

   that it supports.

           40.     A productive fab can manufacture 100,000 chips per day, using hundreds of

   process tools, each utilizing multiple chambers, many of which require a vacuum environment.

   Such a fab requires thousands of highly sophisticated vacuum pumps and as many as one

   thousand abatement systems.

           41.     The vacuum pumps often reside in a “subfab” layer of the manufacturing

   facility—a level underneath the fab, which supports the fab.




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          42.     Semiconductor manufacturing facilities have a number of systems that support the

   fab and the subfab, including electric power distribution; piping systems for drawing exhaust

   from the chambers to vacuum pumps and from the vacuum pumps to abatement systems or the

   fab exhaust; piping systems for the circulation of process chilled water (PCW), which is used to

   cool equipment in both the subfab and the fab; piping systems for the circulation of nitrogen,

   which is used to replace any remaining air and create an inert manufacturing environment;

   helium for leak checking; and interconnect cabling for communication and data transfer. The

   manufacturing facilities also have safety systems, so that systems can be shut down in the event

   of equipment malfunction.

          43.     Each vacuum pump may be tied into each of these various systems. The vacuum

   pump needs electricity, connection to the pipes that bring exhaust from the fab, connection to the

   pipes that take the exhaust to the abatement systems, and integration with the safety systems in

   the facility. Most vacuum pumps also need to be integrated with facility PCW systems, nitrogen

   distribution systems, and safety systems in the facility.

          44.     To remain competitive, it is essential that the semiconductor manufacturer

   maximize process tool “up time” and minimize the “footprint” of support machinery such as

   vacuum pumps and abatement systems. For example, space in the subfab may be valued at

   $3000/square foot. These considerations may be undermined if each of the thousands of vacuum

   pumps is discretely connected to each of the building utility systems. Thus, there is a need for

   systems whereby multiple pumps can be integrated together in connecting to the various water,

   power, venting, exhaust, and other networks in the subfab.

          45.     Such a system would need to meet exacting requirements. The piping systems

   used for these various utilities are robust and have highly detailed specifications. For example,

   some vacuum pumps in the subfab can produce vacuum levels as high as .0007 millibars, which

   must be maintained through the forelines, valves, and related components of Edwards’s



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   integrated systems. The system must also meet earthquake and UL requirements, in addition to

   any other requirements by the end customer specific to their manufacturing facility.

   II.     Edwards’s Development of Integrated Vacuum Pump Systems
           46.     Edwards has been an innovator in vacuum technology and applications for over

   100 years. Edwards was founded in 1919 in south London by physicist F. D. Edwards, who

   imported vacuum equipment for use in processes such as light bulb and cathode ray tube

   manufacturing. Today, Edwards is the world leader in process-enabling vacuum technology

   used in products ranging from LEDs, flat panel screens, and semiconductor transistors to solar

   panels and lithium ion batteries.

           47.     Currently, 90% of Edwards’s global business is in providing essential vacuum and

   abatement solutions for some of the world’s largest semiconductor chip manufacturers.

           48.     Beginning about 30 years ago, Edwards began developing integrated vacuum

   pump systems for the semiconductor industry. Rather than have individual vacuum pumps tie

   separately into a manufacturing facility’s various utility systems, Edwards innovated the idea of

   combining multiple vacuum pumps into integrated systems. That way, all vacuum pumps that

   support a single process tool in the fab can be integrated into a single framework, adding

   efficiency, reducing footprint, and resulting in greater process tool “up time.”

           49.     Since around 1996, these integrated systems have used specially designed chassis

   that hold multiple vacuum pumps, allowing efficient deployment into the subfab. Integrating the

   vacuum pumps together into a single framework allows the pumps to more efficiently connect to

   the utility systems in the facility, including a single connection to the electrical power

   distribution system, a single connection to the PCW distribution system, a single connection to

   the nitrogen distribution system, and connection to the abatement system, all of which can then

   be distributed to multiple vacuum pumps in the integrated system. An integrated system also

   efficiently ties into the facility’s safety systems.



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          50.     Over the past 24 years, Edwards has engineered and continuously improved on its

   proprietary integrated systems. These integrated systems are designed to house multiple pumps

   in a small area of floor space. Integrated systems also reduce down time by permitting

   individual vacuum pumps to be replaced quickly, without needing to shut down the entire

   system.

          51.     Edwards’s integrated systems also contain a centralized control and a graphical

   user interface, which utilizes proprietary Edwards software and components that control and

   provide data and analytics concerning the operation of the pumps and other integrated

   components.

          52.     Depending on the particularities and specifications of the various manufacturing

   processes the vacuum pumps are designed to support, Edwards’s integrated systems are sold for

   between tens of thousands of dollars and hundreds of thousands of dollars each, not including the

   cost of the vacuum pumps themselves, which are sold separately. Each integrated system is

   generally designed to support a single process tool containing the vacuum pumps necessary to

   support each of the chambers used by that tool.

          53.     An example of one type of such an integrated system at Edwards’s Hillsboro

   facility is shown below.




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          54.     Edwards constantly works to improve these aspects of its integrated systems with

   new, proprietary designs and techniques to remain on the cutting edge of process-enabling

   vacuum systems.

          55.     Beginning in around 1998, Edwards has sold its “Synergis” model of integrated

   systems primarily to one key account based in Hillsboro, Oregon. Today over 95% of Synergis

   or similar systems are sold to that key customer, amounting to hundreds of millions of dollars in

   annual sales. Since around 2017, all Synergis systems have been designed, engineered, sold, and

   serviced from Edwards’s facility in Hillsboro.




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   III.   Edwards’s Trade Secrets
          56.      Edwards’s successful marketing and sales of its integrated systems depends in

   large part on the confidentiality of sensitive technical and business information including

   technical and scientific features of Edwards’s integrated system, as well as business information

   concerning its component sourcing, costs, pricing, and profit margins for those systems. A

   competitor, such as HIS, with access to such information would be able to copy Edwards’s

   products and target its suppliers and customers, exploiting its knowledge of such information to

   compete unfairly with Edwards.

          57.      Edwards’s proprietary integrated system technology is the product of 30 years of

   engineering, research, and development, representing an investment of approximately $100

   million and over one hundred thousand person-hours. Edwards’s efforts have produced a system

   that facilitates the efficient and reliable interoperation of multiple vacuum pumps with associated

   abatement systems. Edwards is aware of no other company that has been able to duplicate this

   achievement. For example, prior to HIS’s recent entry into this market—accelerated by its

   unlawful use of Edwards’s trade secrets—Edwards’s only known competitor was EBARA

   Technologies, Inc., a company that has been working on developing integrated vacuum pump

   systems for over twenty years.
          58.      The design of an integrated system such as Edwards’s requires proprietary

   components, techniques, and know-how decades in the making, embodied in Edwards’s

   confidential drawings, schematics, bills of materials, and product knowledge documentation.

   These trade secret components, techniques, and know-how include, without limitation:

               The selection, placement of vacuum pumps, and inclusion of other accessories;

               The selection, design, and placement of valve components in forelines, exhaust lines,
                and other piping;

               Proprietary methods used in sizing forelines, exhaust lines, and other piping;

               The design and placement of valves, ports, monitors, and meters for system
                performance evaluation;


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               The design of specific structures and accessories to facilitate maintenance during
                operation;

               The selection, placement, composition, and design of O-rings in the various piping
                and distribution systems, including Edwards’s proprietary custom designs;

               The selection and design of exhaust components;

               Proprietary methods used in attaching and finishing structural members of the
                integrated systems;

               The design and placement of grounding structures in the integrated system frame;

               Proprietary processes used in system purges;

               The selection, design, and placement of electrical, PCW, and nitrogen systems and
                components;

               Proprietary software, processes, and components used in system control and
                monitoring;

               The selection, design, and placement of vibration mitigation components;

               Proprietary thermal management systems and components;

               Specific dimensions and tolerances of structural frame components; and

               The selection, sourcing, and design of spooling and other pipe components.

          59.      Edwards has also developed extensive proprietary and confidential business

   information pertaining to its finances and customers, including, without limitation, negotiated
   agreements, proprietary sourcing information, cost information, price lists, profit information,

   forecasts, customer and contact lists, purchasing schedules, and information concerning the

   customers’ needs and how they are being met by Edwards. A competitor, such as HIS, with

   access to such information would unfairly be able to target Edwards’s customers armed with

   detailed knowledge of Edwards’s confidential information, without investing the years of
   relationship development and market research undertaken by Edwards to develop this

   information.

          60.      Without limitation, the information described in paragraphs 56-59 are hereinafter

   referred to as “Edwards’s Trade Secrets” or “Edwards’s Trade Secrets and confidential

   information.”

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          61.     Edwards’s Trade Secrets are essential to the efficient and effective design,

   manufacture, maintenance, and marketing of its integrated vacuum systems, and to Edwards’s

   competitive advantage in supplying integrated systems at competitive prices. Without access to

   such confidential and proprietary information, a company that wanted to develop and market its

   own integrated vacuum system would have to invest enormous time, expense, and effort in a

   highly specialized and sophisticated technological environment, the difficulty of which is

   evidenced by the fact that for decades, only one other company in the world has been able to

   offer competitive systems.

          62.     Edwards has taken reasonable efforts to maintain the secrecy of its valuable trade

   secrets. For example, all Edwards employees, including the individual defendants in this case,

   are required to agree to maintain Edwards’s information as confidential as a condition of their

   employment, and to re-affirm that obligation throughout their employment and upon departure.

   Even before an employee begins work, Edwards’s standard offer letter contains a provision

   notifying the employee of his or her non-disclosure obligations, a term that the employee must

   acknowledge in writing to accept the employment offer. Upon commencing work, all employees

   are required to sign the “Edwards Agreement” to assign inventions and safeguard confidential

   information, which contains as its very first provision:

          I shall not, directly or indirectly, other than in the business of the Company and
          in the scope of my employment by the Company, disclose or use at any time
          (either during or subsequent to my said employment) any information,
          knowledge or data of the Company which is of a secret or confidential nature,
          unless I shall secure the prior written consent of the Company. Without any
          limitation intended, the provisions of this paragraph shall extend to and include
          guides used in the Company’s business, customer lists, drawings, letters, and
          technical, financial and marketing information. …
          63.     Employees are also required to acknowledge in writing their understanding of the

   Edwards Employee Handbook, which contains additional prohibitions against the use and

   disclosure of Edwards’s confidential information. Edwards’s employees are also required to

   acknowledge in writing their understanding of Edwards’s “Protocol for Edwards’ Staff

   Interfacing with Third Parties,” a policy requiring the execution of a bi-lateral non-disclosure
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   agreement in any situation in which Edwards’s confidential information may be disclosed to

   others. And upon termination of their employment with Edwards, departing employees are again

   reminded of, and required to re-affirm in writing, their continuing non-disclosure obligations to

   Edwards.

          64.     Edwards’s confidential information is also protected by non-disclosure provisions

   in agreements with its customers, vendors, suppliers, and development partners, consistent with

   its express policy requiring bi-lateral non-disclosure agreements with any party that might

   receive Edwards’s confidential information.

          65.     Additionally, confidential Edwards documentation including drawings,

   schematics, bills of materials, product knowledge documentation, environment, health, and

   safety documentation, sourcing information, cost and profit information, price lists, customer and

   contact lists, and purchasing schedules are stored in central document databases restricted to

   authorized users who must use an Edwards password to access that information. Edwards’s

   engineering drawings and schematics are further accessible only as encrypted .pdf files, which

   require a user to enter login credentials even when viewing offline copies of the documents.

   Engineering 3D models and associated data is stored in a document management system which

   requires specifically approved access to use.

   IV.    Defendants’ Access To and Contractual Obligations to Protect Edwards’s Trade
          Secrets and Confidential Information

          A.      Mark Romeo
          66.     Defendant Romeo joined Edwards as a Site Manager in 1996. On March 22,

   1996, Romeo signed the Edwards Agreement containing, inter alia, the non-disclosure

   provisions recited in paragraph 62, supra. On April 1, 1996, Romeo signed a written statement

   acknowledging his receipt and understanding of the Edwards Employee Handbook, which

   contained additional restrictions on the use or disclosure of Edwards’s confidential information.

   On May 11, 2000, and again on February 11, 2008, Romeo signed further acknowledgements of

   his non-disclosure obligations in accepting promotions to Technical Support Manager and Senior
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   Technical Support Manager, respectively. On May 1, 2019, prior to his departure from Edwards,

   Romeo signed a further acknowledgement of his continuing duty not to use or disclose

   Edwards’s confidential information. These instruments are together hereinafter referred to as the

   “Romeo NDAs.”

          67.     By the time of his departure, Romeo had risen to become Edwards’s Director of

   Integrated Systems, had been the principal architect of Edwards’s integrated systems, and had

   final approval authority on the design, pricing, terms, and scheduling of every integrated system

   sold to a key Edwards Hillsboro-based customer. Commensurate with his broad responsibilities,

   Romeo had access to and had become familiar with all of Edwards’s proprietary drawings,

   schematics, competitive terms, and sourcing, cost, and pricing information pertaining to those

   systems. In 2019, Edwards opened a new, state-of-the-art manufacturing facility in Hillsboro,

   Oregon. While it was being erected, Romeo expressed his desire to become General Manager of

   that facility but was not offered that position. In May of 2019, Romeo resigned from Edwards

   and joined HIS as its new President and Chief Innovation Officer.

          68.     On information and belief, Romeo has directed HIS to develop and market

   integrated systems using Edwards’s confidential and trade secret information; has disclosed

   Edwards’s confidential and trade secret information to HIS for that purpose; and has induced,

   and continues to induce, other former Edwards employees to breach their duties of

   confidentiality to Edwards. Edwards has never authorized Romeo to disclose or use its

   confidential or trade secret information following his employment with Edwards.

          B.      Jeff Schwab
          69.     Defendant Schwab joined Edwards in 1999. On October 8, 1999, Schwab signed

   the Edwards Agreement containing, inter alia, the non-disclosure provisions recited in paragraph

   62, supra. On November 9, 1999, Schwab signed a written statement acknowledging his receipt

   and understanding of the Edwards Employee Handbook, which contained additional restrictions

   on the use or disclosure of Edwards’s confidential information. On June 27, 2011, Schwab

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   signed a further acknowledgement of his non-disclosure obligations in accepting a promotion to

   Program Manager for Integrated Systems. On May 2, 2019, prior to his departure from Edwards,

   Schwab signed a further acknowledgement of his continuing duty not to use or disclose

   Edwards’s confidential or trade secret information. These instruments are together hereinafter

   referred to as the “Schwab NDAs.”

          70.     At the time of his departure, Schwab was Edwards’s Engineering Manager, was

   deeply involved in the design and development of Edwards’s integrated systems, and had

   approval authority on the design, pricing, terms, and scheduling of every integrated system sold

   to a key Edwards Hillsboro-based customer. Schwab worked closely with Romeo and was

   widely known at Edwards as Romeo’s “right hand man.” Through his work at Edwards, Schwab

   had access to and had become familiar with all of Edwards’s proprietary drawings, schematics,

   competitive terms, and sourcing, cost, and pricing information pertaining to those systems.

          71.     In May of 2019, just two days after Romeo left to become HIS’s President,

   Schwab left Edwards to join HIS as its Director of Engineering. On information and belief,

   Schwab has developed integrated systems for HIS using Edwards’s confidential and trade secret

   information; has disclosed Edwards’s confidential and trade secret information to HIS for that

   purpose; and has induced, and continues to induce, other former Edwards employees to breach

   their duties of confidentiality to Edwards. Edwards has never authorized Schwab to disclose or

   use its confidential or trade secret information following his employment with Edwards.

          C.      Joshua Ratchford
          72.     Defendant Ratchford joined Edwards as an Applications Engineer in 2011. On

   October 15, 2011, Ratchford signed an acceptance of his offer letter for this position, which

   provided that Edwards’s proprietary information was to be maintained as confidential both

   during and following Ratchford’s employment. On October 19, 2011, Ratchford signed a written

   statement acknowledging his receipt and understanding of the Edwards Employee Handbook,

   which contained additional restrictions on the use or disclosure of Edwards’s confidential

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   information. On November 15, 2011, Ratchford signed the Edwards Agreement containing,

   inter alia, the non-disclosure provisions recited in paragraph 62, supra. On September 5, 2019,

   prior to his departure from Edwards, Ratchford signed a further acknowledgement of his

   continuing duty not to use or disclose Edwards’s confidential information. These instruments are

   together hereinafter referred to as the “Ratchford NDAs.”

          73.     At the time of his departure, Ratchford was Edwards’s Applications Manager and

   had developed a deep understanding of the semiconductor manufacturing processes employed by

   Edwards’s integrated systems customers. In this role, Ratchford was closely involved in the

   vacuum pump specification and performance calculations which are then incorporated into the

   design and development of Edwards’s integrated systems, and had access to and became familiar

   with Edwards’s proprietary drawings and schematics pertaining to those systems, as well as

   Edwards’s proprietary information concerning customer applications, pricing, competitive terms,

   and purchasing schedules, as well as a database of Edwards’s best known methods for process

   issues and applications research.

          74.     In September of 2019, Ratchford resigned from Edwards and joined HIS as its

   Director of Strategic Accounts. On information and belief, Ratchford has marketed integrated

   systems for HIS using Edwards’s confidential and trade secret information; has disclosed

   Edwards’s confidential and trade secret information to HIS for that purpose; and has induced,

   and continues to induce, other former Edwards employees to breach their duties of

   confidentiality to Edwards. Edwards has never authorized Ratchford to disclose or use its

   confidential or trade secret information following his employment with Edwards.

          D.      Collin Mundus
          75.     Defendant Mundus joined Edwards as a Sales Specialist for the Pacific Northwest

   in 2017, left Edwards in February 2018, and was re-hired to the same position in June 2018. On

   December 1, 2017, and again on June 6, 2018, Mundus signed acceptances of his offer letters for

   this position, which provided that Edwards’s proprietary information was to be maintained as

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   confidential both during and following Mundus’s employment. On December 14, 2017, and

   again on June 6, 2018, Mundus signed written statements acknowledging his receipt and

   understanding of the Edwards Employee Handbook, which contained additional restrictions on

   the use or disclosure of Edwards’s confidential information. On December 14, 2017, and again

   on June 6, 2018, Mundus also signed the Edwards Agreement containing, inter alia, the non-

   disclosure provisions recited in paragraph 62, supra. These instruments are together hereinafter

   referred to as the “Mundus NDAs.”

          76.     As Edwards’s Sales Specialist for the Pacific Northwest and an integral member

   of the account team that handles a key Edwards customer, Mundus developed a deep

   understanding of Edwards’s customers, marketing, and sales in that region. In this role, Mundus

   was closely involved in the marketing and sales of Edwards’s integrated systems, including to a

   key Edwards customer, and had access to and became familiar with Edwards’s proprietary

   information concerning customer applications, contact lists, pricing, sales forecasts, competitive

   terms, and purchasing schedules.

          77.     In August of 2020, Mundus resigned from Edwards and joined HIS. On

   information and belief, Mundus has marketed integrated systems for HIS using Edwards’s

   confidential and trade secret information, and has disclosed Edwards’s confidential and trade

   secret information to HIS for that purpose. Edwards has never authorized Mundus to disclose or

   use its confidential or trade secret information following his employment with Edwards.

          E.      Elisha Leveton
          78.     Defendant Leveton joined Edwards as an Engineering Assistant in 2017. On

   October 23, 2017, Leveton signed an acceptance of her offer letter for this position, which

   provided that Edwards’s proprietary information was to be maintained as confidential both

   during and after Leveton’s employment. On November 14, 2017, Leveton signed a written

   statement acknowledging her receipt and understanding of the Edwards Employee Handbook,

   which contained additional restrictions on the use or disclosure of Edwards’s confidential

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   information. On November 16, 2017, Leveton signed the Edwards Agreement containing, inter

   alia, the non-disclosure provisions recited in paragraph 62, supra. On information and belief,

   prior to her departure from Edwards on August 10, 2019, Leveton signed a further

   acknowledgement of her continuing duty not to use or disclose Edwards’s confidential

   information. These instruments are together hereinafter referred to as the “Leveton NDAs.”

          79.     As part of her responsibilities at Edwards, Leveton assembled all pricing and

   quoting documentation for Edwards’s integrated systems and had access to and became familiar

   with Edwards’s proprietary information concerning pricing, costs, and profit information,

   competitive terms, and purchasing schedules.

          80.     In August of 2019, Leveton resigned from Edwards and joined HIS. On

   information and belief, Leveton has at least disclosed Edwards’s confidential and trade secret

   information to HIS for the purpose of HIS’s marketing of its integrated systems. Edwards has

   never authorized Leveton to disclose or use its confidential or trade secret information following

   her employment with Edwards.

          F.      Richard Date
          81.     Defendant Date joined Edwards as in 2014. On information and belief, Date

   signed an acceptance of his offer letter for this position in or around 2013, which provided that

   Edwards’ proprietary information was to be maintained as confidential both during and after

   Date’s employment. On information and belief, Date signed a written statement acknowledging

   his receipt and understanding of the Edwards Employee Handbook, which contained additional

   restrictions on the use or disclosure of Edwards’ confidential information. On information and

   belief, Date signed the Edwards Agreement in 2013 or 2014 containing, inter alia, the non-

   disclosure provisions recited in paragraph 62, supra. On information and belief, prior to his

   departure from Edwards on August 1, 2019, Date signed a further acknowledgement of his

   continuing duty not to use or disclose Edwards’s confidential information. These instruments are

   together hereinafter referred to as the “Date NDAs.”

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          82.     By the time of his departure, Date was an Onsite Service and Design Support

   Engineer for Edwards’s integrated systems, and had access to and became familiar with

   Edwards’s proprietary drawings and schematics pertaining to those systems.

          83.     In August of 2019, Date resigned from Edwards and joined HIS as a Project

   Manager. On information and belief, Date has designed and manufactured integrated systems

   for HIS using Edwards’s confidential and trade secret information, and has disclosed Edwards’s

   confidential and trade secret information to HIS for that purpose. Edwards has never authorized

   Date to disclose or use its confidential or trade secret information following his employment with

   Edwards.

          G.      Jonathan Dirksen
          84.     Defendant Dirksen joined Edwards as a Project Engineer in Thermal Applications

   in 2018. On January 8, 2018, Dirksen signed an acceptance of his offer letter for this position,

   which provided that Edwards’s proprietary information was to be maintained as confidential both

   during and after Dirksen’s employment. On January 7, 2018, Dirksen signed a written statement

   acknowledging his receipt and understanding of the Edwards Employee Handbook, which

   contained additional restrictions on the use or disclosure of Edwards’s confidential information.

   Dirksen also signed the Edwards Agreement containing, inter alia, the non-disclosure provisions

   recited in paragraph 62, supra. On August 12, 2019, prior to his departure from Edwards,

   Dirksen signed a further acknowledgement of his continuing duty not to use or disclose

   Edwards’s confidential information. These instruments are together hereinafter referred to as the

   “Dirksen NDAs.”

          85.     Through his work at Edwards’s Innovation Center, Dirksen developed a deep

   understanding of the proprietary thermal management technology employed in Edwards’s

   integrated systems. Dirksen was closely involved in the design and development of Edwards’s

   integrated systems, particularly their cutting-edge thermal management components and other

   confidential developments, and had access to and became familiar with Edwards’s proprietary

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   drawings and schematics pertaining to those systems, as well as Edwards’s proprietary

   information concerning customer applications, sourcing information, and cost information.

          86.      In August of 2019, Dirksen resigned from Edwards and joined HIS as a Lead

   Mechanical Engineer. On information and belief, Dirksen has designed integrated systems for

   HIS using Edwards’s confidential and trade secret information, and has disclosed Edwards’s

   confidential and trade secret information to HIS for that purpose. Edwards has never authorized

   Dirksen to disclose or use its confidential or trade secret information following his employment

   with Edwards.

          H.       John Chadbourne
          87.      Defendant Chadbourne joined Edwards as a Mechanical Design Engineer in 2018.

   On January 12, 2018, Chadbourne signed an acceptance of his offer letter for this position, which

   provided that Edwards’s proprietary information was to be maintained as confidential both

   during and following Chadbourne’s employment. On January 4, 2018, Chadbourne signed a

   written statement acknowledging his receipt and understanding of the Edwards Employee

   Handbook, which contained additional restrictions on the use or disclosure of Edwards’s

   confidential information. Also, in January 2018, Chadbourne signed the Edwards Agreement

   containing, inter alia, the non-disclosure provisions recited in paragraph 62, supra. On

   information and belief, prior to his departure from Edwards on August 22, 2019, Chadbourne

   signed a further acknowledgement of his continuing duty not to use or disclose Edwards’s

   confidential information. These instruments are together hereinafter referred to as the

   “Chadbourne NDAs.”

          88.      In his work at Edwards, Chadbourne was involved in the design, development,

   and maintenance of Edwards’s integrated systems, and had access to and became familiar with

   Edwards’s proprietary drawings and schematics pertaining to those systems, as well as

   Edwards’s proprietary information concerning customer applications, component sourcing, and

   cost information.

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          89.     In August of 2019, Chadbourne resigned from Edwards and joined HIS as a Lead

   Mechanical Design Engineer. On information and belief, Chadbourne has designed and

   manufactured integrated systems for HIS using Edwards’s confidential and trade secret

   information, and has disclosed Edwards’s confidential and trade secret information to HIS for

   that purpose. Edwards has never authorized Chadbourne to disclose or use its confidential or

   trade secret information following his employment with Edwards.

          I.      Andrews Enseleit
          90.     Defendant Enseleit joined Edwards as an Applications Engineer in 2011. On

   January 9, 2018, and again on August 3, 2018 in connection with a relocation from New York,

   Enseleit signed acceptances of his offer letters for this position, which provided that Edwards’s

   proprietary information was to be maintained as confidential both during and following

   Enseleit’s employment. On January 25, 2018, Enseleit signed a written statement

   acknowledging his receipt and understanding of the Edwards Employee Handbook, which

   contained additional restrictions on the use or disclosure of Edwards’s confidential information.

   On January 30, 2018, Enseleit signed the Edwards Agreement containing, inter alia, the non-

   disclosure provisions recited in paragraph 62, supra. On October 4, 2019, prior to his departure

   from Edwards, Enseleit signed a further acknowledgement of his continuing duty not to use or

   disclose Edwards’s confidential information. These instruments are together hereinafter referred

   to as the “Enseleit NDAs.”

          91.     In his work at Edwards, Enseleit was involved in the design and development of

   Edwards’s integrated systems and had access to and became familiar with Edwards’s proprietary

   drawings and schematics pertaining to those systems, as well as Edwards’s proprietary

   information concerning component sourcing and costs.

          92.     In October of 2019, Enseleit resigned from Edwards and joined HIS as a

   Mechanical Design Engineer. On information and belief, Enseleit has designed and

   manufactured integrated systems for HIS using Edwards’s confidential and trade secret

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   information, and has disclosed Edwards’s confidential and trade secret information to HIS for

   that purpose. Edwards has never authorized Enseleit to disclose or use its confidential or trade

   secret information following his employment with Edwards.

          J.      Travis Hovde
          93.     Defendant Hovde joined Edwards as an Abatement Specialist in 2015. On

   May 20, 2015, Hovde signed an acceptance of his offer letter for this position, which provided

   that Edwards’s proprietary information was to be maintained as confidential both during and

   following Hovde’s employment. On May 20, 2015, Hovde signed a written statement

   acknowledging his receipt and understanding of the Edwards Employee Handbook, which

   contained additional restrictions on the use or disclosure of Edwards’s confidential information.

   Also on May 20, 2015, Hovde signed the Edwards Agreement containing, inter alia, the non-

   disclosure provisions recited in paragraph 62, supra. On January 17, 2020, prior to his departure

   from Edwards, Hovde signed a further acknowledgement of his continuing duty not to use or

   disclose Edwards’s confidential information. These instruments are together hereinafter referred

   to as the “Hovde NDAs.”

          94.     At the time of his departure, Hovde was a Senior Technical Support Engineer at

   Edwards and was closely involved in the installation and maintenance of Edwards’s integrated

   systems. In this role, Hovde had access to and became familiar with Edwards’s proprietary

   drawings, schematics, and know-how pertaining to those systems, as well as Edwards’s

   proprietary information concerning customer applications and purchasing schedules. In January

   of 2020, Hovde resigned from Edwards and joined HIS as a Project Engineer for Development

   Accounts. On information and belief, Hovde has marketed integrated systems and related

   services for HIS using Edwards’s confidential and trade secret information, and has disclosed

   Edwards’s confidential and trade secret information to HIS for that purpose. Edwards has never

   authorized Hovde to disclose or use its confidential or trade secret information following his

   employment with Edwards.

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          K.      Chad Cook
          95.     Defendant Cook joined Edwards as a Field Service Engineer in 2017. On

   November 17, 2017, Cook signed an acceptance of his offer letter for this position, which

   provided that Edwards’s proprietary information was to be maintained as confidential both

   during and after Cook’s employment. On November 16, 2017, Cook signed a written statement

   acknowledging his receipt and understanding of the Edwards Employee Handbook, which

   contained additional restrictions on the use or disclosure of Edwards’s confidential information.

   On November 16, 2017, Cook also signed the Edwards Agreement containing, inter alia, the

   non-disclosure provisions recited in paragraph 62, supra. On information and belief, prior to his

   departure from Edwards on or about August 17, 2019, Cook signed a further acknowledgement

   of his continuing duty not to use or disclose Edwards’s confidential information. These

   instruments are together hereinafter referred to as the “Cook NDAs.”

          96.     At the time of his departure, Cook was a technologist in Edwards’s Innovation

   Center, and was involved in Edwards’s cutting-edge developments for its integrated systems,

   including the fabrication of system prototypes. In this role, Cook had access to and became

   familiar with Edwards’s proprietary drawings, schematics, and know-how pertaining to those

   systems.
          97.     In August of 2019, Cook resigned from Edwards and joined HIS. On information

   and belief, Cook has disclosed Edwards’s confidential and trade secret information to HIS for the

   purpose of HIS’s design and marketing of its integrated vacuum pump systems. Edwards has

   never authorized Cook to disclose or use its confidential or trade secret information following his

   employment with Edwards.

          L.      Toby Douglas Stanley
          98.     Defendant Stanley joined Edwards as a Project Engineer in 2013. On October 2,

   2013, Stanley signed an acceptance of his offer letter for this position, which provided that

   Edwards’s proprietary information was to be maintained as confidential both during and after

   Stanley’s employment. On October 2, 2013, Stanley also signed a written statement
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   acknowledging his receipt and understanding of the Edwards Employee Handbook, which

   contained additional restrictions on the use or disclosure of Edwards’s confidential information.

   On information and belief, Stanley signed the Edwards Agreement containing, inter alia, the

   non-disclosure provisions recited in paragraph 62, supra. On August 14, 2019, prior to his

   departure from Edwards, Stanley signed a further acknowledgement of his continuing duty not to

   use or disclose Edwards’s confidential information. These instruments are hereinafter referred to

   as the “Stanley NDAs.”

          99.     Through his work at Edwards, Stanley developed extensive knowledge of

   innovation activity and confidential developments pertaining to Edwards’s integrated systems,

   vacuum pumps, and abatement systems, and had access to and became familiar with Edwards’s

   proprietary drawings, schematics, and know-how pertaining to those systems.

          100.    In August of 2019, Stanley resigned from Edwards and joined HIS. On

   information and belief, Stanley has at least disclosed Edwards’s confidential and trade secret

   information to HIS for the purpose of HIS’s design and marketing of its integrated systems and

   related services. Edwards has never authorized Stanley to disclose or use its confidential or trade

   secret information following his employment with Edwards.

          M.      Paul Anderson
          101.    Defendant Anderson joined Edwards as a Project Engineer in 2015. On May 19,

   2015, Anderson signed an acceptance of his offer letter for this position, which provided that

   Edwards’s proprietary information was to be maintained as confidential both during and after

   Anderson’s employment. On May 19, 2015, Anderson also signed a written statement

   acknowledging his receipt and understanding of the Edwards Employee Handbook, which

   contained additional restrictions on the use or disclosure of Edwards’ confidential information.

   On June 6, 2015, Anderson signed the Edwards Agreement containing, inter alia, the non-

   disclosure provisions recited in paragraph 62, supra. On August 9, 2019, prior to his departure

   from Edwards, Anderson signed a further acknowledgement of his continuing duty not to use or

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   disclose Edwards’s confidential information. These instruments are together hereinafter referred

   to as the “Anderson NDAs,” and together with the Romeo, Schwab, Ratchford, Mundus,

   Leveton, Date, Dirksen, Chadbourne, Enseleit, Hovde, Cook, and Stanley NDAs, as the

   “Edwards Employee NDAs.”

          102.     By the time of his departure, Anderson was a Conversion Lead and Senior Project

   Engineer, was closely involved in the maintenance and improvement of Edwards’s integrated

   systems, and had access to and became familiar with Edwards’s proprietary drawings,

   schematics, and know-how pertaining to those systems, as well as Edwards’s proprietary pricing

   information.

          103.     In August of 2019, Anderson resigned from Edwards and joined HIS. On

   information and belief, Anderson has designed and manufactured integrated systems for HIS

   using Edwards’s confidential and trade secret information, and has disclosed Edwards’s

   confidential and trade secret information to HIS for that purpose. Edwards has never authorized

   Anderson to disclose or use its confidential or trade secret information following his employment

   with Edwards.

          104.     Working with Defendant Romeo, HIS has been involved in poaching at least 19

   Edwards employees who all were in possession of Edwards’s Trade Secrets relating to its

   integrated vacuum pump systems, including employees not named as Defendants in this action,

   and has attempted to recruit away others, including at least a research and development engineer

   and Edwards’s Business Controller. The unlawful use of Edwards’s Trade Secrets and

   confidential information known to these employees and misappropriated by the Defendants has

   enabled HIS to develop and market its competing integrated systems on a dramatically

   accelerated timetable, which would not have been possible without their unauthorized use of

   Edwards’s Trade Secrets and confidential information.




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   V.     Defendants’ Misappropriation of Edwards’s Trade Secrets and Confidential
          Information
          105.    Between May 2019 and August 2020, 20 Edwards employees resigned from

   Edwards and took employment in similar positions at HIS, all of whom were closely involved in

   the design, engineering, manufacture, marketing, and/or sales of Edwards’s Synergis integrated

   systems. Each of these employees was subject to a continuing duty to maintain the

   confidentiality of the Edwards confidential and trade secret information described above.

          106.    On October 2, 2019, following the departure of individual Defendants Romeo,

   Schwab, and Ratchford, Atlas Copco North America LLC, Edwards’s parent company, sent a

   letter to HIS informing HIS of the former Edwards employees’ continuing duty to maintain

   Edwards information as confidential, including competitive information concerning Edwards’s

   technology, clients, and business. At the same time, Edwards sent letters to Defendants Romeo,

   Schwab, and Ratchford individually reminding them of their continuing non-disclosure

   obligations.

          107.    In response, HIS’s CEO, Jason Frank, was dismissive of Edwards’s concerns,

   telling an Edwards manager that the letters had no legal effect on HIS or any of their employees.

          108.    In or about July of 2020, Edwards learned that HIS had been approved to qualify
   its own integrated vacuum system in a key Edwards Hillsboro-based customer’s facility, which

   on information and belief is identical in material respects to Edwards’s proprietary Synergis

   system. On information and belief, in addition to that customer’s sites in Oregon and other

   locations around the world, HIS is targeting other Edwards semiconductor customers.

          109.    Prior to 2019, HIS had never designed, engineered, manufactured, marketed, or
   sold vacuum pumps or integrated vacuum pump systems. HIS’s business had instead been

   limited to providing steel components and weldments such as pipes, fittings, flanges, valves, and

   adaptors to its manufacturing customers, including Edwards.

          110.    Upon information and belief, HIS’s efforts to develop an integrated vacuum pump

   system began when it retained Romeo in about May 2019.

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          111.      However, within approximately one year, HIS has designed and manufactured an

   integrated vacuum system, and has provided to a key Edwards customer at least one completely

   assembled and operational sample of that system. That customer is currently in the process of

   qualifying HIS’s integrated system to allow HIS to become a qualified supplier of such systems

   going forward.

          112.      Edwards’s Synergis integrated system is the product of 30 years of proprietary

   research, development, and engineering. HIS could not possibly have designed, developed, and

   manufactured from scratch a comparable system within one year without the use of Edwards’s

   proprietary information. HIS knew or should have known that Edwards’s former employees

   were not at liberty to share that trade secret information with their new employer. On

   information and belief, none of the individual defendants had had any experience with integrated

   vacuum systems outside of their employment by Edwards, and they could not have developed

   such systems for HIS without the unauthorized use and disclosure of Edwards’s trade secrets and

   other confidential information in violation of the Edwards Employee NDAs. Indeed, one former

   HIS employee has admitted that HIS directly copied proprietary Edwards drawings in designing

   HIS’s integrated system.

          113.      HIS has designed its system to compete directly with Edwards’s Synergis system,

   including by designing it to fit within a price point that is lower than the confidential prices

   Edwards currently charges for comparable configurations of its Synergis systems. Without

   proprietary knowledge of Edwards’s confidential pricing information, cost information, and

   information relating to Edwards’s relationship with a key Hillsboro-based customer, HIS could

   not have designed an integrated system targeted to compete directly with Edwards’s Synergis

   systems in this manner.

          114.      Without years of market research that the individual defendants learned at

   Edwards--which HIS knew they were under a continuing duty to maintain as confidential--HIS

   could not have gained this accelerated pathway to making and selling integrated vacuum pump

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   systems. Indeed, none of the individual defendants had any experience marketing or selling

   integrated vacuum systems prior to their employment at Edwards. They could not have

   successfully marketed such systems on an accelerated time frame without the unauthorized use

   and disclosure of Edwards’s Trade Secrets and confidential information in violation of the

   Edwards Employee NDAs.

          115.    HIS has also had direct access to some of Edwards’s Trade Secrets and

   confidential information as a supplier of components for Edwards’s integrated systems, subject

   to a non-disclosure agreement executed by HIS on March 6, 2015 (“the HIS NDA”). That

   agreement provided, among other things, that HIS would maintain Edwards’s information as

   confidential and not use Edwards’s confidential information for any purpose other than its

   collaboration with Edwards.

          116.    Under the terms of that agreement, Edwards disclosed to HIS proprietary and

   trade secret engineering drawings and specifications for flanges, spools, bellows, and ball valves

   used in Edwards’s integrated systems.

          117.    On information and belief, HIS has unlawfully used Edwards’s Trade Secrets and

   confidential information to develop and market its competing integrated systems on a

   dramatically accelerated schedule, which would not have been possible without HIS’s

   unauthorized use of Edwards’s Trade Secrets and confidential information.

          118.    The development and marketing of HIS’s integrated vacuum pump systems by

   HIS and former Edwards employees using Edwards’s Trade Secrets and confidential information

   breaches the Edwards Employee NDAs and the HIS NDA and constitutes unlawful

   misappropriation of Edwards’s Trade Secrets.

          119.    Defendants’ misappropriation has been willful and malicious.

          120.    If not enjoined, Defendants’ misappropriation of Edwards’s trade secrets would

   give HIS an unfair competitive advantage in the market for integrated vacuum pump systems.

   Among other things, HIS stands poised to usurp hundreds of millions of dollars in annual sales to

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   one key Edwards customer alone, without having had to invest the decades of effort and tens of

   millions of dollars required to research, develop, and market such technology themselves.

   VI.    Damages
          121.    Edwards has sustained and will continue to sustain significant damages, yet to be

   completely identified and quantified, that are the direct and proximate result of the wrongful acts

   of Defendants described herein.

          122.    Such damages are ongoing and include, without limitation, (i) damages to

   Edwards’s business and operations resulting from the theft, conversion, and wrongful use of its

   trade secrets and confidential information by Defendants for the benefit of HIS and to the

   detriment of Edwards, which has impaired and continues to impair Edwards’s ability to compete

   in the marketplace; (ii) damages to Edwards’s business and operations resulting from the

   impairment of its investment in the development and marketing of its integrated vacuum

   systems, which investment was adversely affected as a direct and proximate result of the

   Defendants’ wrongful actions; and (iii) damages resulting from Defendants’ improper

   acquisition, use, and/or disclosure of Edwards’s Trade Secrets and confidential information,

   which has significant economic value, thereby depriving Edwards of its exclusive use of this

   information.

          123.    Edwards is and continues to be irreparably harmed by Defendants’ continued

   unlawful possession, use, and disclosure of Edwards’s Trade Secrets and confidential

   information, including in connection with Defendants’ design, development, manufacture,

   marketing, sale, and/or offers to sell integrated vacuum pump systems, which is ongoing. Unless

   Defendants are enjoined from making any further unauthorized use or disclosure of Edwards’s

   Trade Secrets and confidential information, they will continue to capitalize, knowingly and

   intentionally, on Edwards’s Trade Secrets and confidential information to which they have no

   rightful claim or license.



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                                              COUNT I
                  Violation of the Defend Trade Secrets Act, 18 U.S.C. § 1836(b) et seq.
                                           (Against all Defendants)
           124.     Edwards incorporates by reference the allegations in paragraphs 1-123 as if fully

   set forth herein.

           125.     Edwards’s Trade Secrets include technological and business information related

   to its integrated vacuum pump systems, which are products used in interstate and foreign

   commerce.

           126.     Edwards’s Trade Secrets individually and collectively have independent

   economic value to Edwards, as they are the result of tens of millions of dollars invested and

   decades of effort by Edwards to research, develop, market, and sell integrated vacuum pump

   systems using the associated trade secrets, which its customers consider to be technically

   superior and more affordable compared to other competitive offerings.

           127.     Edwards’s Trade Secrets individually and collectively would be invaluable to any

   entity interested in developing integrated vacuum pump systems, including Defendants, because

   the trade secrets would allow that entity to develop and market such technology with far less

   investment of time and resources than would be needed to develop and market the technology

   independently.
           128.     Edwards’s Trade Secrets are individually and collectively not generally known to

   the general public or others within the trade.

           129.     Edwards’s Trade Secrets are individually and collectively not readily

   ascertainable by others without a significant expenditure of time, expense, and effort.

           130.     To the extent Edwards has disclosed its trade secrets to Defendants, it did so
   pursuant to the terms of non-disclosure agreements that expressly prohibit the unauthorized use

   or disclosure of Edwards’s Trade Secrets.

           131.     The individual and combined benefits of Edwards’s Trade Secrets give Edwards a

   significant competitive advantage in the marketplace.


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          132.      Edwards has taken reasonable measures to maintain the secrecy of its trade secrets

   by, among other things, requiring that its employees, vendors, suppliers, development partners,

   and customers enter into written non-disclosure agreements, and restricting access to its

   electronic systems and documents to ensure that only authorized personnel can access Edwards’s

   Trade Secrets.

          133.      The individual Defendants, by virtue of their employment with Edwards, had

   access to Edwards’s Trade Secrets but were at all relevant times—including after their

   employment with Edwards—under a duty to maintain the secrecy of Edwards’s Trade Secrets

   pursuant to the terms of their non-disclosure agreements with Edwards.

          134.      Consistent with the terms of those agreements, the individual defendants and

   HIS—at least through its President, Defendant Romeo, and through Edwards’s express

   notifications—were aware that Edwards endeavored to maintain the secrecy of its trade secrets.

          135.      As of the date of this Complaint, HIS is employing the individual defendants, is in

   possession of and is improperly exploiting Edwards’s Trade Secrets.

          136.      Through their current employment at HIS, the individual defendants continue to

   aid HIS in using Edwards’s Trade Secrets.

          137.      On information and belief, HIS and Romeo specifically solicited the employment

   of the other individual defendants because of their knowledge of the design, manufacture,

   marketing, and sale of Edwards’s integrated vacuum systems, including Edwards’s valuable

   trade secrets in those systems.

          138.      Defendants have attempted to persuade other Edwards employees to leave

   Edwards to work for HIS, and those attempts are active and ongoing to the present time.

          139.      HIS acquired one or more of Edwards’s Trade Secrets from the individual

   defendants and other Edwards employees by inducing them to use and/or disclose Edwards’s

   Trade Secrets in breach of the Edwards Employee NDAs and other non-disclosure obligations,



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   notwithstanding that HIS knew or should have known that all former Edwards employees were

   under ongoing non-disclosure obligations to Edwards.

          140.     Defendants misappropriated Edwards’s Trade Secrets by using and/or disclosing

   them, without Edwards’s knowledge or consent and in violation of Defendants’ non-disclosure

   agreements, to design, develop, test, analyze, replicate, manufacture, market, sell, and/or offer to

   sell integrated vacuum pump systems that would be competitive with Edwards’s systems, to

   market and sell integrated vacuum pump systems to Edwards’s key customers, and to otherwise

   effectuate a scheme to wrongfully misappropriate Edwards’s valuable trade secrets for their own

   commercial advantage and to Edwards’s detriment.

          141.     At the time of Defendants’ misappropriation and wrongful use and/or disclosure

   of Edwards’s Trade Secrets, Defendants knew that they had acquired Edwards’s Trade Secrets

   under circumstances giving rise to a duty to maintain the secrecy thereof because, among other

   things, the individual defendants—including HIS’s President, Defendant Romeo—were subject

   to the Edwards Employee NDAs.

          142.     At the time of Defendants’ misappropriation and wrongful use and/or disclosure

   of Edwards’s Trade Secrets, each Defendant, including HIS, knew, and/or had reason to know,

   that the individual defendants were subject to the Edwards Employee NDAs and that HIS’s

   acquisition and use of Edwards’s Trade Secrets violated the obligations of non-disclosure and

   non-use created by those NDAs.

          143.     The wrongful disclosure and/or use of Edwards’s Trade Secrets has given and

   continues to give HIS an unfair benefit and unfair advantage in the marketplace in competition

   with Edwards.

          144.     Defendants’ misappropriation has been willful and malicious.

          145.     Defendants’ misappropriation of Edwards’s Trade Secrets is ongoing in nature.




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           146.    As a direct and proximate result of Defendants’ unlawful misappropriation of

   Edwards’s Trade Secrets, Edwards has sustained actual damages, and will continue to accrue and

   sustain such damage in the future on an ongoing basis.

           147.    As a direct and proximate result of Defendants’ unlawful misappropriation of

   Edwards’s Trade Secrets, Edwards has suffered irreparable harm, and will continue to suffer

   such harm unless and until Defendants’ wrongful conduct is enjoined.

                                          COUNT II
       Violation of the Oregon Uniform Trade Secrets Act, Or. Rev. Stat. §§ 646.461 et seq.
                                       (Against all Defendants)
           148.    Edwards incorporates by reference the allegations in paragraphs 1-147 as if fully

   set forth herein.

           149.    The wrongful disclosure and/or use of Edwards’ Trade Secrets has given and

   continues to give HIS an unfair benefit and unfair advantage in the marketplace over Edwards,

   the rightful owner of the Edwards Trade Secrets.

           150.    Defendants’ misappropriation has been willful and malicious.

           151.    Defendants’ misappropriation of Edwards’s Trade Secrets is ongoing in nature.

           152.    As a direct and proximate result of Defendants’ unlawful misappropriation of

   Edwards’s Trade Secrets, Edwards has sustained actual damages, and will continue to accrue and

   sustain such damage on an ongoing basis.

           153.    As a direct and proximate result of Defendants’ unlawful misappropriation of

   Edwards’s Trade Secrets, Edwards has suffered irreparable harm, and will continue to suffer

   such harm unless and until Defendants’ wrongful conduct is enjoined.

                                              COUNT III
                                         Breach of Contract
                                  (Against all Individual Defendants)
           154.    Edwards incorporates herein by reference the allegations in paragraphs 1-153 as if

   fully set forth herein.



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           155.    At all times material hereto, each individual defendant was subject to one or more

   of the Edwards Employee NDAs, the terms of which, among other things, prohibited the

   individual Defendants both during and after their employment with Edwards from making any

   unauthorized use or disclosure of Edwards’s Trade Secrets and other confidential information.

           156.    For example, each individual Defendant agreed, among other things, that:

           I shall not, directly or indirectly, other than in the business of the Company and
           in the scope of my employment by the Company, disclose or use at any time
           (either during or subsequent to my said employment) any information,
           knowledge or data of the Company which is of a secret or confidential nature,
           unless I shall secure the prior written consent of the Company. Without any
           limitation intended, the provisions of this paragraph shall extend to and include
           guides used in the Company’s business, customer lists, drawings, letters, and
           technical, financial and marketing information. …
           157.    Each individual Defendant breached their Edwards Employee NDAs when they

   unlawfully used and/or disclosed Edwards’s Trade Secrets and confidential information through

   their work with HIS to design, develop, test, manufacture, market, sell, and/or offer to sell

   integrated vacuum pump systems.

           158.    As a direct and proximate result of the individual Defendants’ wrongful conduct,

   Edwards has sustained actual damages as described above, and will continue to accrue and

   sustain such damages in the future on an ongoing basis.

           159.    As a direct and proximate result of the individual Defendants’ wrongful conduct,

   Edwards has suffered irreparable harm, and will continue to suffer such harm unless and until the

   individual Defendants’ wrongful conduct is enjoined.

                                              COUNT IV
                                           Breach of Contract
                                             (Against HIS)
           160.    Edwards incorporates herein by reference the allegations in paragraphs 1-159 as if

   fully set forth herein.

           161.    At all times material hereto, HIS was subject to the HIS NDA, the terms of which,

   among other things, prohibited HIS from making any unauthorized use or disclosure of

   Edwards’s Trade Secrets and other confidential information.
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             162.     HIS breached the HIS NDA when it unlawfully used Edwards’s Trade Secrets and

   confidential information to design, develop, test, manufacture, market, sell, and/or offer to sell

   integrated vacuum pump systems.

             163.     As a direct and proximate result of HIS’s wrongful conduct, Edwards has

   sustained actual damages as described above, and will continue to accrue and sustain such

   damages in the future on an ongoing basis.

             164.     As a direct and proximate result of HIS’s wrongful conduct, Edwards has suffered

   irreparable harm, and will continue to suffer such harm unless and until the individual

   Defendants’ wrongful conduct is enjoined.

                                                COUNT V
                              Tortious Interference with Economic Relations
                    (Against Defendants HIS, Romeo, Schwab, Ratchford, and Mundus)
             165.     Edwards incorporates the allegations in paragraphs 1-164 as if fully set forth

   herein.

             166.     Edwards has had business and prospective economic relationships with its

   customers, including but not limited to a key Hillsboro-based semiconductor manufacturer. For

   example, for nearly the past 30 years, Edwards has sold integrated vacuum pump systems to that

   customer for use in semiconductor manufacturing processes, a business that currently generates

   hundreds of millions of dollars in annual revenue to Edwards.

             167.     Defendants HIS, Romeo, Schwab, Ratchford, and Mundus intended to interfere

   with Edwards’s business and prospective economic relationships with its customers, including

   but not limited to Edwards’s key Hillsboro-based customer, by inducing those customers to

   purchase integrated vacuum pump systems from HIS instead of Edwards. On information and

   belief, HIS’s interference with Edwards’s relationship with that key customer has been

   successful in that regard.

             168.     Defendants HIS, Romeo, Schwab, Ratchford, and Mundus’s interference with

   Edwards’s relationships has been accomplished through improper means, including their

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   misappropriation and conversion of Edwards’s Trade Secrets and confidential information; their

   unlawful use of that information in marketing and offering to sell integrated vacuum pump

   systems to Edwards’s customers; Defendants Romeo, Schwab, Ratchford, and Mundus’s breach

   of the Romeo NDAs, Schwab NDAs, Ratchford NDAs, and Mundus NDAs; and at least

   Defendants HIS, Romeo, Schwab, and Ratchford’s inducement of other former Edwards

   employees to breach their non-disclosure agreements with Edwards.

           169.    With respect to at least Edwards’s key, Hillsboro-based customer, on information

   and belief, Defendants HIS, Romeo, Schwab, Ratchford, and Mundus have, as a direct and

   proximate result of this wrongful conduct, induced that customer to purchase integrated vacuum

   systems from HIS instead of Edwards, damaging Edwards’s business and prospective economic

   relationships with that customer.

           170.    With respect to at least that key Edwards customer, Edwards has suffered

   damages as a direct and proximate result of Defendants HIS, Romeo, Schwab, Ratchford, and

   Mundus’s intentional interference, including but not limited to revenue for sales of integrated

   vacuum pump systems that customer will purchase from HIS instead of Edwards as a result of

   the wrongful conduct described herein.

                                              COUNT VI
                                              Conversion
                                        (Against all Defendants)
           171.    Plaintiff hereby incorporates the allegations in paragraphs 1-170 as if they were

   fully set forth herein.

           172.    Edwards is the owner of the Edwards Trade Secrets and confidential and

   proprietary information misappropriated by Defendants.

           173.    At all times material hereto, Defendants knew that the information they

   misappropriated from Edwards constituted sensitive, proprietary, confidential, and/or trade secret

   information that belonged to Edwards.



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             174.   Defendants’ actions constitute an unlawful and intentional conversion of

   Edwards’ proprietary, trade secret, and confidential information for Defendants’ economic

   benefit, and to the economic detriment of Edwards, as Defendants have exercised dominion and

   control over that property which has interfered with Edwards’s exclusive control and ownership

   of it.

             175.   Defendants were without right, privilege, or justification to deprive Edwards of its

   rightful and exclusive ownership and use of its proprietary, trade secret, and confidential

   information.

             176.   As a direct and proximate result of Defendants’ unlawful conversion of

   Edwards’s proprietary, trade secret, and confidential information, Edwards has sustained actual

   damages, and will continue to accrue and sustain such damages in the future on an ongoing basis.

             177.   As a direct and proximate result of Defendants’ unlawful conversion of

   Edwards’s proprietary, trade secret, and confidential information, Edwards has suffered

   irreparable harm, and will continue to suffer such harm unless and until Defendants’ wrongful

   conduct is enjoined.

                                              COUNT VII
                                        Breach of Duty of Loyalty
                                       (Against Defendant Romeo)
             178.   Edwards incorporates the allegations of paragraphs 1-177 as if fully set forth

   herein.

             179.   As an Edwards employee, Defendant Romeo owed Edwards a duty of loyalty,

   which included the obligation not to compete with or otherwise injure Edwards.

             180.   Defendant Romeo left Edwards to join HIS on May 1, 2019. Defendant Schwab

   left Edwards and joined HIS just two days later on May 3, 2019. Defendant Schwab worked

   closely with Defendant Romeo and was widely known at Edwards as Defendant Romeo’s “right

   hand man.”



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             181.   On information and belief, prior to his departure from Edwards, Defendant

   Romeo induced at least Defendant Schwab, and potentially others, to resign from Edwards and

   take up employment at HIS in competition with Edwards.

             182.   On information and belief, prior to his departure from Edwards, Romeo accessed

   and collected Edwards’s Trade Secret and confidential information in furtherance of his unlawful

   plans to use that information for the benefit of HIS in his role as HIS’s new president.

             183.   As a direct and proximate result of Defendant Romeo’s wrongful conduct,

   Edwards has sustained actual damages as described above, and will continue to accrue and

   sustain such damage in the future on an ongoing basis.

             184.   As a direct and proximate result of Defendant Romeo’s wrongful conduct,

   Edwards has suffered irreparable harm, and will continue to suffer such harm unless and until

   Defendants’ wrongful conduct is enjoined.

                                              COUNT VIII
                                            Civil Conspiracy
                                         (Against all Defendants)
             185.   Edwards incorporates the allegations of paragraphs 1-184 as if fully set forth

   herein.

             186.   HIS agreed and conspired with each of the individual Defendants, and the

   individual Defendants agreed and conspired with each other, to knowingly and intentionally

   solicit, obtain, and unlawfully use and/or disclose Edwards’s proprietary, trade secret, and

   confidential information in connection with a scheme to design, develop, manufacture, market,

   sell, and/or offer to sell integrated vacuum pump systems that would permit HIS to gain an unfair

   competitive advantage and harm Edwards’s ability to compete in the market for that technology.

             187.   As alleged herein, the acts through which Defendants conspired to attain this end

   were unlawful. Specifically, in pursuit of their conspiracy, Defendants at least (i) unlawfully

   misappropriated, used, and/or disclosed Edwards’s proprietary, trade secret, and confidential

   information to design, develop, manufacture, market, sell, and/or offer to sell integrated vacuum

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   pump systems; (ii) intentionally interfered in Edwards’s business and prospective economic

   relationships with its customers as alleged herein; and (iii) induced Edwards employees to breach

   their non-disclosure agreements with Edwards.

             188.   As a direct and proximate result of Defendants’ wrongful conduct, Edwards has

   sustained actual damages, and will continue to accrue and sustain such damage in the future on

   an ongoing basis.

             189.   As a direct and proximate result of Defendants’ wrongful conduct, Edwards has

   suffered irreparable harm, and will continue to suffer such harm unless and until Defendants’

   wrongful conduct is enjoined.

                                               COUNT IX
                                           Unjust Enrichment
                                         (Against all Defendants)
             190.   Edwards incorporates the allegations of paragraphs 1-189 as if set forth fully

   herein.

             191.   As described herein, Defendants unlawfully and intentionally solicited, obtained,

   used, and/or disclosed Edwards’s proprietary, trade secret, and confidential information in

   violation of applicable laws for their own benefit.

             192.   At all times material hereto, Defendants knew that such benefits were conferred

   upon them, and voluntarily accepted and retained such benefits, knowing that the information

   had been wrongfully misappropriated from Edwards.

             193.   Defendants have been unjustly enriched by their improper and unlawful use of

   Edwards’s proprietary, trade secret, and confidential information in pursuit of economic benefits.

             194.   The fair value of the benefits wrongfully obtained by Defendants is the value they

   have derived from obtaining, disclosing, and/or using Edwards’s proprietary, trade secret, and

   confidential information, and from their ongoing use of such information to design, develop,

   manufacture, market, sell, and/or offer to sell integrated vacuum pump systems. Accordingly,



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   Defendants have been unjustly enriched in an amount to be determined, and Edwards is entitled

   to be paid that amount.

          195.    As a direct and proximate result of Defendants’ wrongful conduct, Edwards has

   sustained actual damages, and will continue to accrue and sustain such damage in the future on

   an ongoing basis.

          196.    As a direct and proximate result of Defendants’ wrongful conduct, Edwards has

   suffered irreparable harm, and will continue to suffer such harm unless and until Defendants’

   wrongful conduct is enjoined.

                                       PRAYER FOR RELIEF
          197.    WHEREFORE, Edwards respectfully requests that the Court enter judgment in its

   favor and against Defendants HIS, Mark Romeo, Jeffrey Schwab, Joshua Ratchford, Collin

   Mundus, Elisha Leveton, Richard Date, Jonathan Dirksen, John Chadbourne, Andrew Enseleit,

   Travis Hovde, Chad Cook, Toby Douglas Stanley, and Paul Anderson, granting Edwards the

   following relief:

          A.      Actual and compensatory damages in amounts to be proven at trial, including

                  disgorgement of HIS’s profits to the extent not accounted for in actual and

                  compensatory damages;

          B.      Permanent injunctive relief, including an order requiring Defendants to return and

                  not to use Edwards’s proprietary, trade secret, and confidential information; to

                  prevent the continued manufacture and/or sale of any integrated vacuum pump

                  system using that information; to stop Defendants from soliciting Edwards

                  employees to join HIS for the purpose of furthering the sale or manufacture of

                  products based on Edwards’s trade secrets and confidential information; and to




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                   stop any other acts as may be necessary to protect Edwards’s proprietary, trade

                   secret, and confidential information;

           C.      Exemplary damages pursuant to the Defend Trade Secrets Act, 18 U.S.C.

                   § 1836(b)(3)(C);

           D.      Punitive damages pursuant to the Oregon Uniform Trade Secrets Act, Or. Rev.

                   Stat. § 646.465(3);

           E.      Other punitive and exemplary damages;

           F.      Edwards’s attorneys’ fees pursuant to the Defend Trade Secrets Act, 18 U.S.C.

                   § 1836(b)(3)(D); the Oregon Uniform Trade Secrets Act, Or. Rev. Stat.

                   § 646.467(3); and other applicable authority;

           G.      Edwards’s costs and pre-judgment and post-judgment interest; and

           H.      Such other and further relief as the Court deems just and proper.

                                      DEMAND FOR JURY TRIAL
           Pursuant to Fed. R. Civ. P. 38(b), Edwards Vacuum LLC respectfully requests a trial by

   jury of all issues so triable.

           Dated this 29th day of September, 2020.
                                                Respectfully submitted,

                                                 SCHWABE, WILLIAMSON & WYATT, P.C.



                                                 By:       s/ Nika Aldrich
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